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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

SELINA SOULE, a minor, by Bianca            :
Stanescu, her mother; CHELSEA               :
MITCHELL, a minor, by Christina             :
Mitchell, her mother; ALANNA SMITH,         :
a minor, by Cheryl Radachowsky,             :
her mother; ASHLEY NICOLETTI, a             :
minor, by Jennifer Nicoletti, her mother,   :
                                            :
       Plaintiffs                           :
                                            :
v.                                          :   CASE NO. 3:20-cv-00201 (RNC)
                                            :
CONNECTICUT ASSOCIATION OF                  :
SCHOOLS d/b/a CONNECTICUT                   :
INTERSCHOLASTIC ATHLETIC                    :
CONFERENCE; BLOOMFIELD PUBLIC               :
SCHOOLS BOARD OF EDUCATION;                 :
CROMWELL PUBLIC SCHOOLS                     :
BOARD OF EDUCATION;                         :
GLASTONBURY PUBLIC SCHOOLS                  :
BOARD OF EDUCATION; CANTON                  :
PUBLIC SCHOOLS BOARD OF                     :
EDUCATION; DANBURY PUBLIC                   :
SCHOOLS BOARD OF EDUCATION,                 :
                                            :
       Defendants                           :
                                            :
and                                         :
                                            :
ANDRAYA YEARWOOD; THANIA                    :
EDWARDS on behalf of her daughter,          :
T.M.; COMMISSION ON HUMAN                   :
RIGHTS and OPPORTUNITIES,                   :
                                            :
       Intervenor-Defendants.               :

                                       JUDGMENT

       This action having come before the Court for consideration of the defendants’

and intervenor-defendants’ motion to dismiss, before the Honorable Robert N. Chatigny,

United States District Judge. On February 21, 2020, Andraya Yearwood and Thania
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Edwards on behalf of her daughter, T.M., filed a motion to intervene as defendants and

on April 22, 2020, the Court granted the motion and Andraya Yearwood and Thania

Edwards on behalf of her daughter, T.M., were added as intervenor-defendants in the

case. On February 26, 2020, the Commission on Human Rights and Opportunities filed

a motion to intervene and on April 22, 2020, the Court granted the motion and the

Commission on Human Rights and Opportunities was added as an intervenor-

defendant in this case.

       The Court having considered the full record of the case including applicable

principles of law, and having granted the defendants’ and intervenor-defendants’ motion

to dismiss on April 25, 2021, it is hereby,

       ORDERED, ADJUDGED, and DECREED that judgment be and is hereby

entered in favor of the defendants dismissing the action.

       Dated at Hartford, Connecticut, this 26th day of April, 2021.


                                              ROBIN D. TABORA, Clerk

                                              By: /s/ Michael Bozek
                                                  Michael Bozek
                                                  Deputy Clerk

Entered on Docket: 4/26/2021
